          Case 2:21-mj-05100-DUTY Document 7 Filed 11/08/21 Page 1 of 3 Page ID #:20


 AO 472 (Rev. 1 l/16) Order of Detention Pending Trial                                                             FILED


                                        U1~TITED STATES DISTRICT COURT , ~ NpV ~ g
                                                                                   2p21
                                                                      for the                           '~
                                                           Central District of California             ~'                   CAL!FOR"'
                                                                                                      8Y                      DAP..

                    United States of America
                                   v.                                   )                          '
                                            ~%~-v 1                     ~       Case No.'~ '.,Z ~'IM ~ ~ ~l l3 D
                                                                                                                   ~~
                              Defendant


                                         ORDER OF DETENTION PENDING TRIAL

                                                         Part I -Eligibility for Detention

      Upon the

               ~    otion ofthe Government attorney pursuant to 18 U.S.C. § 3142(fl(1), or
                   Motion ofthe Government or Court's own motion pursuant to 18 U.S.C. § 3142(fl(2),

the Court held a detention hearing and found that detention is warranted. This order
                                                                                      sets forth the Court's findings offact
and conclusions of law, as required by 18 U.S.C. § 3142(1), in addition to any other
                                                                                     findings made at the hearing.
                             Part II -Findings of Fact and Law as to Presumptions under § 3142(e)

  Q A. Rebuttable Presumption Arises Under 18 U.S.C.§ 3142(e)(2)(prevr'ous vio[aror):
                                                                                              There is a rebuttable
    presumption that no condition or combination of conditions will reasonably
                                                                                  assure the safety of any other person
    and the community because the following conditions have been met:
        ~ (1)the defendant is charged with one ofthe following crimes described
                                                                                     in 18 U.S.C. § 3142(fl(1):
             O(a)a crime of violence, a violation of 18 U.S.C. § 1591, or an offense
                                                                                        listed in 18 U.S.C.
               § 2332b(g)(5)(B)for which a maximum term of imprisonment of]0 years
                                                                                              or more is prescribed; or
             ~(b)an offense for which the maximum sentence is life impriso
                                                                                nment or death; or
             ~(c)an offense for which a maximum term of imprisonment of 10
                                                                                   years or more is prescribed in the
               Controlled Substances Act(21 U.S.C. §§ 801-904), the Controlled Substan
                                                                                              ces Import and Export Act
              (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C.(46 U.S.C.
                                                                                         §§ 70501-70508); or
             ~(d) any felony if such person has been convicted oftwo or more
                                                                                  offenses described in subparagraphs
              (a)through (c) ofthis paragraph, or two or more State or local offenses
                                                                                          that would have been offenses
               described in subparagraphs(a)through (c) of this paragraph if a circumst
                                                                                            ance giving rise to Federal
              jurisdiction had existed, or a combination ofsuch offenses; or
             Q(e) any felony that is not otherwise a crime of violence but involves:
              (i) a minor victim;(ii) the possession of a firearm or destructive device
                                                                                         (as defined in 18 U.S.C. § 92l);
              (iii) any other dangerous weapon; or (iv) a failure to register under 18
                                                                                        U.S.C. § 2250; and
        O (2)the defendant has previously been convicted of a Federal offense that
                                                                                      is described in 18 U.S.C.
          § 3]420(1), or of a State or local offense that would have been such
                                                                                  an offense if a circumstance giving rise
          to Federal jurisdiction had existed; and
       ~ (3)the offense described in paragraph (2)above for which the defendan
                                                                                    t has been convicted was
          committed while the defendant was on release pending trial for a Federal,
                                                                                       State, or local offense; and
       ~ (4)a period of not more than five years has elapsed since the date
                                                                              of conviction, or the release ofthe
          defendant from imprisonment, for the offense described in paragraph (2)
                                                                                      above, whichever is later.


                                                                                                                      Page I of 3
            Case 2:21-mj-05100-DUTY Document 7 Filed 11/08/21 Page 2 of 3 Page ID #:21


 AO 472 (Rev. I I/16) Order of Detention Pending Trial

    Q B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3)(narcor;cs,frrearm, other offenses):
                                                                                                         There is a
      rebuttable presumption that no condition or combination of conditions will reasonably assure the appearan
                                                                                                                 ce of the
      defendant as required and the safety of the community because there is probable cause to believe that the defendan
                                                                                                                         t
      committed one or more of the following offenses:
           Q (1)an offense for which a maximum term of imprisonment of 10 years or more is prescribed the
                                                                                                          in
             Controlled Substances Act(2l U.S.C. §§ 801-904), the Controlled Substances Import and Export Act(21
             U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C.(46 U.S.C. §§ 70501-70508);
          ~(2)an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
          O (3)an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment
                                                                                                              of 10 years
             or more is prescribed;
          Q (4)an offense under Chapter 77 of Title ]8, U.S.C.(18 U.S.C. §§ 1581-1597) for which a maximu
                                                                                                                 m term of
             imprisonment of 20 years or more is prescribed; or
          ~(5)an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(
                                                                                                          1), 2245,
             2251,2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)
                                                                                                                  (4),
             2260,2421, 2422,2423, or 2425.

   O C. Conclusions Regarding Applicability of Any Presumption Established Above

             ~ The defendant has not introduced sufficient evidence to rebut the presumption above,
                                                                                                       and detention is
                ordered on that basis. (Parr 11/ need nor be completed.)


                OR

             O The defendant has presented evidence sufficient to rebut the presumption, but after consider
                                                                                                            ing the
               presumption and the other factors discussed below, detention is warranted.

                                  Part III -Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3142(g) and the information
                                                                                        presented at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the
                                                                                   Government has proven:

            clear and convincing evidence that no condition or combination of conditions of
                                                                                            release will reasonably assure
      the      ety of any other person and the community.

        y a preponderance of evidence that no condition or combination of conditions of
                                                                                        release will reasonably assure
        e defendant's appearance as required.

In addition to any findings made on the record at the hearing, the reasons for
                                                                                 detention include the following:

        Weight of evidence against the defendant is strong
      ~     bject to lengthy period of incarceration if convicted
           for criminal history
             icipation in criminal activity while on probation, parole, or supervision
          istory of violence or use of weapons
           story of alcohol or substance abuse
        Lack of stable employment
        Lack of stable residence
      Q Lack offinancially responsible sureties



                                                                                                                      Page 2 of 3
          Case 2:21-mj-05100-DUTY Document 7 Filed 11/08/21 Page 3 of 3 Page ID #:22


 A0472 (Rev. 11/16) Order of Detention Pending Trial

        Q   Lack of significant community or family ties to this district
        ~   Significant family or other ties outside the United States
        O   Lack of legal status in the United States
        ~   Subject to removal or deportation after serving any period of incarceration
        ~   Prior failure to appear in court as ordered
        ~   Prior attempts)to evade law enforcement
        ~   Use of aliases) or false documents
        ~      ckground information unknown or unverified
            Prior violations of probation, parole, or supervised release

OTHER REASONS OR FURTHER EXPLANATION:




                                               Part IV -Directions Regarding Detention

The defendant is remanded to the custody ofthe Attorney General or to the Attorney General's designated
                                                                                                             representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving
                                                                                                            sentences or being
held in custody pending appeal. The defendant must be afforded easonable opportunity for private consultation
                                                                                                                           with
defense counsel. On order of a court of the United States or on r est of an attorney for the Government
                                                                                                                , the person in
charge ofthe corrections facility must deliver the defendant to a 'ed States Marshal for the purpose of an
                                                                                                                 appearance in
connection with a court roceeding.

Date:                 ~S      l~~ 1
                                                                           United States Magistrate Judge




                                                                                                                     Page 3 of 3
